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AO 245B (CASDRev. 08/13) Judgment in a Criminal Case
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                                       UNITED STATES DISTRICT C                                               AUG 29 2016
                                             SOUTHERN DISTRICT OF CALIFO                              CLeRK, U.S. DISTRICT COURT
            UNITED STATES OF AMERICA                                    JUDGMENT IN                S.Q~nTf5lSlCALIFORNIA
                                                                                                   fJ¥:            DEPUTY
                                  v.                                    (For Offenses Committe         n or    e          ,
         CARLOS LCURIEL QUEZADA, JR. (I)
                                                                           Case Number:         15CR1205·GPC

                                                                        PATRICAK M. GRIFFIN
                                                                        Defendant's Attorney
REGISTRAnON NO.                   49498298
o­
THE DEFENDANT:
I:gJ pleaded guilty to count(s)          4 of the 2nd Superseding Indictment.

o was found guilty on count(s)
    after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                          Count
Title & Section                        Nature of Offense                                                                Numberls)
8: I 324(a)(2)(B)(iii); 18:2           Bringing in Illegal aliens without presentation.                                    1




    The defendant is sentenced as provided in pages 2 through                     3            of this judgment.
The sentence is imposed pursuant to the Sentencing Refonn Act of 1984.
 o The defendant has been found not gUilty on count(s)
 IZI Count(s)    Underlying Indictments and remaining             are         dismissed on the motion of the United States.

 IZI Assessment: $100.00.



 IZI Fine waived           0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of
any material change in the defendant's economic circumstances.

                                                                        August 26,2016
                                                                        Dare of Imposition ofSentlQ


                                                                               f;kk
                                                                        HON. GONZALO P. CURIEL
                                                                        UNITED STATES DISTRICT JUDGE



                                                                                                                      15CR1205·GPC
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    DEFENDANT:                  CARLOS LCURIEL QUEZADA, JR. (1)                                                              Judgment • Page 2 of3
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                                                                 PROBATION
Upon release from imprisonment, the defendant shall be on supervised release for 11 term of:
3 years.


     The defendant shall report to the probation office in the district to which the defendant is released within 72 hours ofrelease from the
custody ofthe Bureau of Prisons unless removed from the United States.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13,1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during the
term of supervision, unless otherwise ordered by court.
       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
       substance abuse. (Check, if applicable.)
       The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
       The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
       Backlog Elimination Act of 2000, pursuant to 18 USC section 3583(a)(7) and 3583(d).
       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et
o      seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she
       resides, works, is a student, or was convicted of a qualifying offense. (Check if applicable.)
o      The defendant shall participate in an approved program for domestic violence. (Check if applicable.)

          If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the defendant pay any
     such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of
     Payments set forth in this judgment.
         The defendant shall comply with the standard conditions that have been adopted by this court. The defendant shall also comply
     with any special conditions imposed.
                                        STANDARD CONDITIONS OF SUPERVISION
     I)  the defendant shall not leave the judicial district without the permission of the court or probation officer;
     2)  the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
     3)  the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
     4)  the defendant shall support his or her dependents and meet other family responsibilities;
     5)  the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other acceptable
         reasons;
     6) the defendant shall notifY the probation officer at least ten days prior to any change in residence or employment;
     7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance or
         any paraphernalia related to any controlled substances, except as prescribed by a physician;
     8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
     9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a felony,
         unless granted permission to do so by the probation officer;
     10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any contraband
         observed in plain view of the probation officer;
     11) the defendant shall notifY the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12) the defendant shalt not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the permission of
         the court; and
     13) as directed by the probation officer, the defendant shall notifY third parties of risks that may be occasioned by the defendant's criminal record or
         personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
          with such notification requirement.



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                                SPECIAL CONDITIONS OF SUPERVISION

     1. Submit person, property, residence, office or vehicle to a search~ conducted by a United States Probation
        Officer at a reasonable time and in a reasonable manner, based upon reasonable suspicion of contraband
        or evidence of a violation of a condition of release; failure to submit to a search may be grounds for
        revocation; the defendant shall warn any other residents that the premises may be subject to searches
        pursuant to this condition.

     2. Not enter or reside in the Republic of Mexico without permission of the court or probation officer.

     3. Report vehicles owned or operated, or in which you have an interest, to the probation officer.

     4. The defendant shall participate for a period of 18 months in a home detention program which may
        include electronic monitoring, GPS, Alcohol Monitoring Unit or automated identification systems and
        shall observe all rules of such program, as directed by the Probation Officer. The defendant shall
        maintain a residential telephone line without devices and/or services that may interrupt operation of the
        monitoring equipment;
        The defendant shall pay the costs of home confinement monitoring to the contract vendor, not to exceed
        the sum of $12.00 for each day of participation. The defendant shall provide payment and proof of
        payment as instructed.

II




                                                                                                 15CR1205-GPC
